                                            UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF TENNESSEE
                                                  AT GREENEVILLE

  UNITED STATES OF AMERICA                                                         )
                                                                                   )                                 No.: 2:20-CR-065
               v.                                                                  )
                                                                                   )
  EMORY Q. JACKSON                                                                 )


                                           UNITED STATES’ RESPONSE TO
                                        DEFENDANT’S MOTION IN LIMINE NO. 1

               The United States of America, by and through the Acting United States Attorney for

  the Eastern District of Tennessee, responds without opposition, in part, and objects in part

  to the defendant’s motion to preclude the introduction of videos and images of, or reference

  to the defendant’s possession of firearms in this case. (Doc. 98).

               The United States does not oppose the preclusion of videos and images showing the

  defendant’s possession of firearms not charged in the indictment. The United States has not

  filed a motion to offer crimes or other wrong doings by the defendant, pursuant to Rule

  404(b) and as such does not intend to solicit testimony or enter into evidence photographs

  and videos from any witnesses concerning the defendant’s possession of other firearms not

  charged in the indictment, during its case-in-chief.

               The United States does not intend to introduce the below listed images and videos

  (as numbered in defendant’s motion, Doc. 98) 1:

               1. Facebook Google Chrome File Path Name: 15-12-32.pgn

               2. Facebook Google Chrome File Path Name: 15-12-52.pgn




  1
      As stated, the United States does not intend to introduce images and videos that do not show the defendant in possession of the indicted

  firearms. However, the United States has been unable to examine videos: 4. Facebook Google Chrome File Path Name: 15-49-29.pgn; 8.

  Facebook Google Chrome File Path Name: 17-07-42.mp4. (as numbered in defendant’s motion, Doc. 98). The United States asks to reserve

  argument as to the files if they are the indicted firearms.




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         3. Facebook Google Chrome File Path Name: 15-13-16.pgn

         6. Facebook Google Chrome File Path Name: 12-56-46.mp4

         However, should the defendant open the door during cross examination, this

  response should not be deemed a waiver of the United States’ right to impeach the

  defendant and offer rebuttal.

         The defendant further argues that images and videos that will be offered into

  evidence by the United States should be redacted as they “include foul language, gang-like

  theme, violence-laced words, and similar sounds to the cocking of a firearm,” arguing that it

  is more prejudicial than probative. (Doc. 98). The United States object to the preclusion or

  redaction of evidence that is proof of the offenses in this case. “Rule 403 provides a

  balancing test for excluding relevant evidence. The test is strongly weighted toward

  admission.” United States v. Asher, 910 F.3d 854, 860 (6th Cir. 2018).

         Below are some of the videos and images the United States intends to offer into

  evidence during its case in chief (as numbered in defendant’s motion, Doc. 98):

         5. Facebook Google Chrome File Path Name: 18-09.53.pgn

         7. Facebook Google Chrome File Path Name: 13-16-09.mp4

         9. Facebook Google Chrome File Path Name: 17-11-31.mp4

         10. Facebook Google Chrome File Path Name: 17-16-24.mp4

  The United States intends to demonstrate that the listed videos and images show proof of

  the defendant’s possession of a Stroeger 8040-F .40 caliber handgun as charged in Count

  One of the indictment. The defendant is charged with possessing the firearm on or about

  January 14, 2020, the above videos and images were posted to social media on January 14,

  2020 and the United States contends that they are proof of the possession on that day,

  though not the only proof of the crime.




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         While the United States intends to redact the video recordings to only relevant

  portions, the United States objects to sanitizing the defendant’s language for the jury. The

  defendant has not stated how the foul language or the gun cocking in the videos is

  prejudicial, nor what portions of the videos exhibit gang culture. The United States believes

  the defendant’s offensive language is inextricably intertwined in the relevant portions of

  the videos. The defendant’s choice of words provides context to the videos and his

  possession of the firearm. Redacting or substituting the words could harm the probative

  value of the videos. Specifically, the cocking of the firearm, which the United States

  contends is evidence of Count One of the indictment. The videos are relevant on many

  fronts, and the potential prejudice of the videos does not substantially outweigh its

  probative value.

         Wherefore the United States agrees to not submit evidence of the defendant’s

  possession of various other firearms in its case and chief, but objects to the preclusion of the

  photos and videos that are evidence of the offenses charged as their probative value is not

  outweighed but any potential prejudice to the defendant.

         Respectfully submitted, this Monday, August 9, 2021.

                                                     FRANCIS M. HAMILTON III
                                                     Acting United States Attorney

                                              By:    s/ Meghan L. Gomez
                                                     MEGHAN L. GOMEZ
                                                     Assistant United States Attorney
                                                     FL BPR # 068858
                                                     220 W. Depot Street, Suite 423
                                                     Greeneville, Tennessee 37743
                                                     (423) 639-6759
                                                     meghan.gomez@usdoj.gov




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